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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-01634-WJM-SKC


   Vivos Therapeutics, Inc.,

                 Plaintiff,

          v.

   Ortho-Tain, Inc.,

                 Defendant.


                               FIRST AMENDED COMPLAINT

          Plaintiff Vivos Therapeutics, Inc. (“Vivos”) brings the following Amended

   Complaint against Defendant Ortho-Tain, Inc. (“Ortho-Tain” or “Defendant”) due to

   Ortho-Tain’s defamatory statements, intentional interference with Vivos’s business

   relationships and clients, and false advertising, and states as follows:

                                       INTRODUCTION

          1.     Vivos is a medical technology company focused on the development and

   commercialization of a highly differentiated technology offering a clinically effective non-

   surgical, non-invasive, non-pharmaceutical, and low-cost solution for patients with sleep

   disordered breathing, including mild-to-moderate obstructive sleep apnea. Vivos offers

   novel and proprietary alternatives for treating mild-to-moderate obstructive sleep apnea

   as well as certain craniofacial and anatomical anomalies known to be associated with

   mild-to-moderate obstructive sleep apnea. To do so, Vivos works with independent
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   dentists across the country, who learn how to deploy Vivos’s treatments and devices to

   help their patients. These affiliations with dentists are the lifeblood of Vivos’s business.

          2.     From time to time, Vivos also works with other product and service

   providers in the dental industry to promote Vivos treatments and devices. One such

   affiliate is Benco Dental Supply Co. (“Benco”), which collaborated with Vivos in 2020 to

   co-host a series of continuing education courses for dental professionals highlighting

   the general benefits of oral device therapy for sleep-disordered breathing.

          3.     Defendant Ortho-Tain is a direct competitor of Vivos. Having been in the

   market for years, Ortho-Tain has recently lost significant market share to Vivos and its

   innovative products and business strategies. In spring 2020, Ortho-Tain through its

   CEO, Leslie Stevens, and outside counsel, Nathan Neff, began making false,

   threatening, and defamatory statements about Vivos to Benco related to the continuing

   education courses Benco was co-hosting with Vivos. Examples of such communications

   are attached and incorporated herein at Exhibit 1, Stevens Ltr. (Apr. 2, 2020); Exhibit

   2, Neff Ltr. (May 11, 2020); Exhibit 3, Neff Ltr. (June 1, 2020); and Exhibit 4, Neff Ltr

   (June. 3, 2020).

          4.     Then, in late 2020—after Vivos had already filed this lawsuit to address

   Ortho-Tain’s harmful and illegal conduct—Ortho-Tain expanded its deliberate campaign

   to undermine Vivos’s relationships by sending defamatory email advertisements to

   Vivos’s dentist-clients across the country, including dentists located in California,

   Delaware, Maryland, Utah, and Washington. Examples of these communications are

   attached and incorporated herein at Exhibit 5, Ortho-Tain Email to Dr. Tigani re Vivos;



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   Exhibit 6, Ortho-Tain Email to Dr. Knight re Vivos; Exhibit 7, Ortho-Tain Email to Dr.

   Kim re Vivos; Exhibit 8, Ortho-Tain Email to Dr. Hills re Vivos; and Exhibit 9, Ortho-

   Tain Email to Dr. Nutting re Vivos.

         5.      In addition, Ortho-Tain continues to publish a number of false and

   misleading statements about its business and products through promotional materials

   distributed online and at Ortho-Tain events. These statements, which falsely claim that

   Ortho-Tain has “over 500 current patents,” that Ortho-Tain’s products have been

   ”cleared” by the FDA, and that Ortho-Tain has treated “over 4 million patients,”

   materially mislead dentists and consumers—Vivos’s current and prospective clients.

         6.      Ortho-Tain’s actions have interfered with Vivos’s business relationships

   and contracts, causing Vivos harm to its reputation, loss of goodwill, and monetary

   damages. Ortho-Tain’s actions also constitute violations of the Colorado Consumer

   Protection Act and the Lanham Act.

         7.      Vivos seeks permanent injunctive relief to prevent Ortho-Tain’s continued

   false, misleading, and harmful statements to Vivos’s business affiliates, clients, and the

   general public. Vivos further seeks declaratory relief to refute Ortho-Tain’s false

   allegations, as well as monetary damages to compensate Vivos for harm caused by

   Ortho-Tain.

                                          PARTIES

         8.      Plaintiff, Vivos Therapeutics, Inc., is a Delaware corporation, with its

   principal place of business in Colorado.




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          9.     Defendant, Ortho-Tain, Inc., is a Puerto Rico corporation with its principal

   place of business in Puerto Rico.

                                 JURISDICTION AND VENUE

          10.    This Court has subject matter jurisdiction over this matter under 28 U.S.C.

   § 1332 because there is complete diversity between the parties and the amount in

   controversy exceeds $75,000. This Court also has subject matter jurisdiction over this

   matter under 28 U.S.C. § 1331, 15 U.S.C. § 1125(a), and 28 U.S.C. §§ 2201–02

   because Vivos seeks relief under the Lanham Act as well as declaratory relief related to

   a federal question.

          11.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a

   substantial part of the events, omissions, and harm giving rise to Vivos’s claims

   occurred in Colorado.

          12.    This Court has personal jurisdiction over Defendant Ortho-Tain because

   Defendant regularly conducts business in Colorado, advertises in Colorado, has

   business operations in Colorado, works with affiliates in Colorado, and caused harm to

   Vivos in Colorado in the instant dispute.

                                  FACTUAL ALLEGATIONS

   Vivos’s Business

          13.    Vivos is a medical device technology company focused on the

   development and commercialization of innovative solutions for patients with sleep-

   disordered breathing, including obstructive sleep apnea. Vivos develops and markets a

   number of specially designed, customized and pre-formed oral appliances, which are



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   integrated into a patient-specific, multi-disciplinary therapeutic protocol used by trained

   dental and medical providers (the “Vivos System”).

         14.    Vivos maintains relationships with dentists across the country for the

   purchase and use of the Vivos System.

         15.    Dentists interested in working with Vivos enter agreements with Vivos for

   the use of the Vivos System and oral appliances. These agreements are the core of

   Vivos’s business model and profitability.

         16.    Vivos also has an ongoing business relationship and contracts with

   Benco. As part of that business relationship, Vivos supplies Benco with Vivos products.

         17.    In addition, Benco provides promotional services to Vivos. Under this

   arrangement, Benco organizes continuing education events for dental professionals and

   hosts Vivos speakers at those events.

         18.     Defendant, Ortho-Tain, is a direct competitor of Vivos. Like Vivos,

   Defendant markets and sells oral appliances to be used by dental and medical

   providers to treat various conditions. Ortho-Tain sells many of its appliances under its

   “HealthyStart” brand.

         19.    Ortho-Tain recently lost significant market share to Vivos because of

   Vivos’s superior products and services.

   Ortho-Tain Directs Misinformation Campaign at Benco

         20.    In an apparent attempt to improperly monitor and interfere with Vivos’s

   business, Ortho-Tain has engaged in acts of corporate espionage against Vivos,

   including sending agents to monitor and record Vivos presentations without permission.



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   Presentations improperly recorded by Ortho-Tain include a presentation given by Dr.

   Brian Kraft in St. Louis, Missouri on February 7, 2020, and a webinar series given by Dr.

   Ben Miraglia and broadcast on multiple occasions through the spring of 2020.

          21.    In the spring of 2020, Ortho-Tain’s CEO, Leslie Stevens, and outside

   counsel, Nathan Neff, sent a series of written communications to Benco’s Managing

   Director, Chuck Cohen, and General Counsel, Robert Bisal, regarding Vivos

   presentations at Benco events that Ortho-Tain had apparently covertly surveilled and

   recorded. See Exs. 1-4.

          22.    Ortho-Tain’s written communications to Benco incorrectly allege that Vivos

   knowingly made false representations at the Benco-Vivos events, that Vivos attempted

   to “pawn off” Vivos products as Ortho-Tain products, and that Vivos interfered with

   Ortho-Tain’s contracts with dental providers. Ex. 1. at 2–3; see Exs. 2-4.

          23.    Ortho-Tain’s written communications falsely allege that Vivos violated

   state and federal law, including the Lanham Act, under a theory of false designation of

   origin. Ex. 1 at 3; see Exs. 2-4.

          24.    Ortho-Tain’s written communications disparage and mischaracterize

   Vivos’s products, professional reputation, and intellectual property by asserting, inter

   alia, that (1) Vivos misrepresented patient cases, (2) Vivos does not own any intellectual

   property for pediatric application, (3) Ortho-Tain owns more than 500 registered patents,

   (4) Vivos intentionally misled its customers, and (5) Benco stands to lose business by

   continuing its relationship with Vivos. Exs. 1-4. All of these assertions are false,

   misleading, and disparaging.



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          25.    Ortho-Tain’s written communications improperly threatened Benco and

   sought to persuade Benco to end its business relationship with Vivos. Exs. 1-4.

          26.    Upon information and belief, Ortho-Tain made similar statements to Benco

   in oral communications during telephonic meetings with Benco representatives as

   contemplated in Ortho-Tain’s letters. Ex. 1 at 3 (“Kindly contact me directly to discuss

   Benco’s response to this information.” (emphasis added)). Upon information and belief,

   Ortho-Tain’s CEO, Leslie Stevens, and outside counsel Nathan Neff participated in

   these calls, as did Benco General Counsel Robert Bisal and Benco Managing Director

   Chuck Cohen.

          27.    Ortho-Tain made the above statements with knowledge of their falsity, and

   with intent to disrupt Vivos’s known business relationship and contracts with Benco.

          28.    Ortho-Tain’s statements have adversely affected and damaged Vivos’s

   business relationship with Benco and made Vivos’s performance under its contracts

   with Benco more difficult.

          29.    The statements have further harmed Vivos’s professional reputation and

   caused loss of Vivos’s goodwill.

          30.    Vivos requires a permanent injunction preventing Ortho-Tain’s defamation

   and continued illegal and improper interference with Vivos’s relationship with Benco.

   Ortho-Tain Directs Defamatory Email Campaign to Vivos Dentists Nationwide

          31.    Despite a pending lawsuit based on its defamatory communications to

   Benco, Ortho-Tain maliciously continued its systematic campaign to interfere with




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   Vivos’s core relationships by communicating false and defamatory representations to

   Vivos’s dentist-clients across the country.

          32.    Specifically, in late 2020, Ortho-Tain sales representatives, including

   Rebecca Straight and Constance Tiberi, sent template email advertisements to Vivos’s

   dentist-clients purporting to highlight “the differences between HealthyStart [Ortho-

   Tain’s brand] and Vivos.” Examples of these communications discovered by Vivos are

   attached at Exhibits 5 to 9.

          33.    Ortho-Tain sent these email advertisements to dentists partnered with

   Vivos across the country, including dentists in California, Delaware, Maryland, Utah,

   and Washington.

          34.    In these email advertisements, Ortho-Tain made numerous false and

   misleading statements about Vivos and Ortho-Tain. For example, Ortho-Tain

   misleadingly compared its HealthyStart pediatric appliances to “a premium Rolex watch”

   and the Vivos appliances to a “cheaply made back alley knock-off,” and falsely alleged

   Vivos’s products are manufactured “by unregulated entities and by unknown or non-

   disclosed materials.” Id. Ortho-Tain also falsely asserted that Vivos’s products are

   “neither approved nor cleared by the FDA.” Id. Ortho-Tain also mischaracterized

   statements in Vivos’s S-1 Registration Statement on file with the SEC, by asserting that

   Vivos’s products are unsafe and ineffective and that Vivos is on “financial life support.”

   Id.

          35.    Ortho-Tain also misrepresented the nature of its own products in its

   communications, including repeatedly and falsely stating (i) that it holds over 500



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   patents for dental devices, (ii) that its products have “FDA clearance,” and (iii) that it has

   treated over 4 million patients. Id. In fact, (i) Ortho-Tain holds only 20 current U.S.

   patents; (ii) Ortho-Tain products hold only FDA registration—not clearance; and (iii) on

   information and belief, Ortho-Tain has not treated 4 million patients or even maintained

   systems that would permit it track how many patients it has treated.

          36.    Dentists who received Ortho-Tain’s communications have expressed

   confusion and concern regarding the allegations contained in Ortho-Tain’s false and

   defamatory form communication.

          37.    Vivos maintains contracts with dentists who received the communication

   from Ortho-Tain.

          38.    Upon information and belief, Ortho-Tain continues to send and/or intends

   to continue to send this form email communication to dentists across the country for the

   purpose of disparaging Vivos and its products and misleading consumers.

          39.    Ortho-Tain’s    communications      further   harmed    Vivos’s   professional

   reputation and caused loss of Vivos’s goodwill.

          40.    Ortho-Tain’s communications significantly impact the public because they

   are directed to dentists—the actual and potential consumers of Ortho-Tain’s and Vivos’s

   products—and are intended to influence the care of these dentists’ patients.

   Ortho-Tain’s False and Misleading Promotional Materials

          41.    In addition to its targeted misinformation campaign against Vivos, Ortho-

   Tain continues to publish a number of false and misleading statements about Ortho-




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   Tain’s business and its products through promotional materials hosted online and on its

   websites.

          42.      These statements falsely claim that Ortho-Tain has “over 500 current

   patents,” that Ortho-Tain’s products are “FDA approved,” and that Ortho-Tain has

   treated “over 4 million patients.”

          43.     These statements materially mislead dentists and consumers—Vivos’s

   prospective clients.

          44.      Ortho-Tain’s promotional materials significantly impact the public because

   they are directed to dentists and the consuming public.

                                             COUNT 1

         False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)

          45.      Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

   False and Misleading Advertising Emails to Dentists

          46.     Ortho-Tain has committed false advertising by sending a series of sales

   emails to dentists in the fall of 2020.

          47.     Ortho-Tain’s advertising emails contained a number of false and/or

   misleading statements regarding Vivos and its products, including, inter alia:

                a. That Vivos’s products are comparable to a “cheaply made back alley

                   knock-off.” In fact, Vivos products are made with high quality, bio-

                   compatible components and techniques.




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            b. That   Vivos    uses   “third-party   foreign   manufacturing,     possibly   by

               unregulated entities and by unknown or non-disclosed materials.” In fact,

               Vivos devices are manufactured in ISO-9001 facilities practicing Good

               Manufacturing Practices and in compliance with all applicable regulations.

               Vivos’s contract manufacturing facilities undergo regular audits to ensure

               compliance with these standards.

            c. That Vivos “will offer you nothing more than a re-packaged statement of

               HealthyStart’s materials ….” In fact, Vivos uses its own unique advertising

               materials, products, and services.

            d. That “Vivos [does] not know if its products are safe and clinically effective.”

               In fact, Vivos has undertaken extensive bio-compatibility testing and

               conducted unpublished case studies and independent provider surveys to

               ensure product safety, compliance, and efficacy.

            e. That “Vivos is seeking emergency life-support to make it through the year

               and even if it makes it to the ICU, it will still need to borrow further in order

               to stay alive ….” In fact, Vivos is on sound financial footing.

            f. That Vivos’s products are “neither approved nor cleared by the FDA.” In

               fact, Vivos’s products are Class I registered and Class II cleared by the

               FDA. By contrast, Ortho-Tain’s products have not been cleared by the

               FDA and are only registered with the FDA. Unlike clearance, FDA

               registration is essentially automatic and does not require substantive FDA

               review.



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                 g. That it is “unwise and potentially dangerous for any consumer to look to a

                      new up-start [Vivos] or to a copy-cat system that seeks to grow and

                      develop pediatric dentition with a series of appliances that have neither

                      been independently researched nor FDA-cleared for the treatment of your

                      pediatric patients.” In fact, many dentists and patients have used Vivos

                      products and services with great success and Vivos products are Class I

                      registered and Class II cleared by the FDA. By contrast, Ortho-Tain’s

                      products hold only Class I registration.

                 h. That “Vivos … does not own any patents for oral appliances used to treat

                      pediatric cases.” In fact, Vivos hold the rights to four design patents,

                      sixteen utility patents, multiple foreign patents, as well as trademark

                      protection for its brand. Vivos’s patents are not age-specific, and are

                      equally applicable to children and adults.

                 i.   That providers “risk their money with Vivos” and that this “gamble extends

                      to their pediatric patients.” In fact, many dentists and patients have used

                      Vivos products and services with great success and Vivos’s products

                      present no more risks than Ortho-Tain/HealthyStart’s.

           48.        In its advertising emails, Ortho-Tain also made false and/or misleading

   written statements regarding Ortho-Tain’s own products. These statements include,

   inter alia:




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               a. That Ortho-Tain/HealthyStart has “500+ approved patents.” In fact, the

                  vast majority of these patents are expired and Ortho-Tain has only 20

                  current U.S. patents.

               b. That Ortho-Tain/HealthyStart has “successfully treated” “more than 4

                  million patients.” In fact, on information and belief, Ortho-Tain has not

                  treated this many patients and does not even track or maintain adequate

                  information to ascertain the number of patients treated by Ortho-Tain

                  products or whether this treatment was “successful.”

               c. That “HealthyStart® is the ONLY company that has invented, patented,

                  developed, and offered a comprehensive series of oral appliances that

                  actually treat the underlying root causes of pediatric Sleep Disordered

                  Breathing.” In fact, Vivos has done precisely that and has an intellectual

                  property portfolio and product line to prove it.

               d. That Ortho-Tain’s oral appliances “have been independently and clinically

                  tested and are cleared by the U.S. Food and Drug Administration and

                  other international regulatory organizations.” In fact, Ortho-Tain’s products

                  are not cleared with the FDA, they are only registered. By contrast, Vivos

                  has both FDA-registered (Class I) and cleared (Class II) products. In

                  addition, Vivos is not able to locate any evidence of clinical trials of Ortho-

                  Tain products.

         49.      Ortho-Tain’s email advertisements containing the above assertions

   constitute commercial advertising. Specifically, Ortho-Tain’s sales representatives sent



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   the communications to dentists for the purpose of acquiring the dentists as customers

   and/or influencing the dentists’ decision to work with Vivos.

          50.    Ortho-Tain’s misrepresentations have or are likely to cause confusion or

   mistake as to the characteristics of Vivos and/or Ortho-Tain’s goods or services.

          51.    Ortho-Tain’s misrepresentations are material, in that they have influenced

   or are likely to influence dentists’ decisions regarding whether to purchase Vivos and/or

   Ortho-Tain’s goods or services.

          52.    Ortho-Tain’s email advertisements caused multiple false statements to

   enter interstate commerce. Specifically, Ortho-Tain sent the advertisements to dentists

   in states across the country.

          53.    Ortho-Tain’s      misrepresentations   injured    Vivos   through   harm   to

   professional reputation and loss of goodwill vis-à-vis the dentists who received the

   communications.

          54.    Upon information and belief, Ortho-Tain’s misrepresentations have caused

   prospective clients of Vivos to refrain from purchasing Vivos goods or services.

          55.    Ortho-Tain’s misrepresentations are also likely to harm Vivos by

   discouraging future sales/contracts, creating misinformation in the marketplace about

   Vivos, impeding Vivos’s goodwill, and harming its professional reputation.

          56.    Ortho-Tain’s deception in the advertising emails was willful and deliberate.

   Ortho-Tain knew it had no good faith basis to make its allegation. In addition, at the time

   of the email advertisements, Vivos had already corrected several of Ortho-Tain’s

   allegations regarding patents in briefing in the case styled Ortho-Tain, Inc. v. Colorado



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   Vivos Therapeutics Inc., et al., No. 1:20-cv-04301, currently pending in the U.S. District

   Court for the Northern District of Illinois. And Vivos had already filed the Complaint in

   the above-captioned case in an attempt to stop Ortho-Tain’s tortious and defamatory

   conduct toward Vivos.

   False and Misleading Promotional Materials

          57.      Ortho-Tain has also committed false advertising in violation of the Lanham

   Act by publishing a number of false and misleading promotional materials about Ortho-

   Tain and its products.

          58.      These materials include Ortho-Tain’s website and the website it maintains

   for its brand, HealthyStart; Ortho-Tain/HealthyStart social media pages; Ortho-

   Tain/HealthyStart brochures; and Ortho-Tain/HealthyStart promotional materials used at

   conferences.

          59.      False and misleading statements in Ortho-Tain’s promotional materials

   include, inter alia:

                a. That Ortho-Tain/HealthyStart have “511 current patents.” See, e.g.,

                   Exhibit 11, A Parents [sic] Overview of Sleep Disordered Breathing and

                   the          HealthyStart            Treatment,          available           at

                   https://www.youtube.com/watch?v=Bk4gYOUVS8w;              Exhibit    12,   HS

                   Provider   Portal,   HealthyStart,     https://portal.thehealthystart.com/login

                   (stating that HealthyStart has “over 500 patents”). In fact, the vast majority

                   of these patents are expired and Ortho-Tain has only 20 current U.S.

                   patents.



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            b. That Ortho-Tain/HealthyStart have “serv[ed] 4 million patents.” See, e.g.,

               Exhibit            13,          About             Us,            HealthyStart,

               https://www.thehealthystart.com/about-us (last accessed Feb. 10, 2021);

               see also, Exhibit 10, photo of Ortho-Tain’s event booth (“4 Million Cases

               Treated). In fact, on information and belief, Ortho-Tain has not treated this

               many patients and does not even track or maintain adequate information

               to ascertain the number of patients treated by Ortho-Tain products or

               whether this treatment was “successful.”

            c. That “Ortho-Tain® appliances are the only removable orthodontic

               appliance cleared by the FDA to correct both functional and aesthetic

               problems.”   See     Exhibit    14,   What   is    Ortho-Tain,    Ortho-Tain,

               https://www.orthotain.com/what-is-ortho-tain/ (last accessed Feb. 10,

               2021). In fact, Ortho-Tain’s products are not cleared with the FDA, they

               are only registered. FDA registration is essentially automatic and does not

               involve substantive review or “approval” by the FDA. By contrast, Vivos

               has both FDA-registered and cleared products.

            d. That the “HealthyStart system … is FDA Approved.” Exhibit 15,

               HealthyStart: About, Linkedin, https://www.linkedin.com/company/healthy-

               start. In fact, Ortho-Tain’s products are not approved or cleared with the

               FDA—they are only registered. By contrast, Vivos has both FDA-

               registered and cleared products.




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         60.    Ortho-Tain’s promotional materials containing the above assertions

   constitute commercial advertising. Specifically, these materials were produced and

   distributed to the public for the purpose of promoting Ortho-Tain’s products and

   services.

         61.    Ortho-Tain’s misrepresentations have or are likely to cause confusion or

   mistake as to the characteristics of Ortho-Tain’s goods or services.

         62.    Ortho-Tain’s misrepresentations are material, in that they have or are

   likely to influence dentists’ and consumers’ decisions regarding whether to purchase

   Ortho-Tain’s goods or services.

         63.    Ortho-Tain’s promotional materials caused multiple false statements to

   enter interstate commerce. Specifically, Ortho-Tain hosts the materials on its websites,

   social media pages, and on YouTube, where they are viewable to dentists and

   consumers across the country. Ortho-Tain also uses its promotional materials at events

   across the country.

         64.    Ortho-Tain’s misrepresentations are likely to harm Vivos by misleading

   prospective clients—in the form of dentists and consumers—about the track record,

   intellectual property, and regulatory approval of Ortho-Tain and Ortho-Tain/Healthy Start

   products.

         65.    Ortho-Tain’s deception in its promotional materials is willful and deliberate.

   Ortho-Tain has failed to correct or take down its promotional materials despite lacking a

   good faith basis to make the assertions at issue, and in some cases, despite being on

   notice that the assertions are false and contain misleading information.



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          66.      Vivos is entitled to relief under the Lanham Act, 15 U.S.C. § 1125.

                                             COUNT 2

      Violation of the Colorado Consumer Protection Act, C.R.S. §§ 6-1-101, et seq.

          67.      Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

   Violations Based on Disparagement of Vivos’s Products

          68.      Ortho-Tain engaged in unfair or deceptive trade practices as set forth in

   C.R.S. § 6-1-105, by, inter alia:

                a. Disparaging the goods, services, and business of Vivos by false or

                   misleading representations of fact;

                b. Knowingly making false representations as to the source, approval, or

                   certification of Vivos’s goods and services;

                c. Knowingly making false representations as to the characteristics,

                   ingredients, uses, or benefits of Vivos’s goods and services; and

                d. Knowingly or recklessly engaging in unfair, unconscionable, deceptive,

                   deliberately misleading, false, or fraudulent acts or practices.

          69.      Ortho-Tain’s actions constituting unfair and deceptive trade practices

   include but are not limited to undertaking a deliberate campaign to disparage Vivos and

   its goods and services through a series of email advertisements targeted to Vivos

   dentists and sent in the fall of 2020. False and misleading statements made in those

   advertisements included, inter alia:




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            a. That Vivos’s products are comparable to a “cheaply made back alley

               knock-off.” In fact, Vivos products are made with high quality, bio-

               compatible components and techniques.

            b. That   Vivos    uses   “third-party   foreign   manufacturing,     possibly   by

               unregulated entities and by unknown or non-disclosed materials.” In fact,

               Vivos devices are manufactured in ISO-9001 facilities practicing Good

               Manufacturing Practices and in compliance with all applicable regulations.

               Vivos’s contract manufacturing facilities undergo regular audits to ensure

               compliance with these standards.

            c. That Vivos “will offer you nothing more than a re-packaged statement of

               HealthyStart’s materials ….” In fact, Vivos uses its own unique advertising

               materials, products, and services.

            d. That “Vivos [does] not know if its products are safe and clinically effective.”

               In fact, Vivos has undertaken extensive bio-compatibility testing and

               conducted unpublished case studies and independent provider surveys to

               ensure product safety, compliance, and efficacy.

            e. That “Vivos is seeking emergency life-support to make it through the year

               and even if it makes it to the ICU, it will still need to borrow further in order

               to stay alive ….” In fact, Vivos is on sound financial footing.

            f. That Vivos’s products are “neither approved nor cleared by the FDA.” In

               fact, Vivos’s products are Class I registered and Class II cleared by the

               FDA. By contrast, Ortho-Tain’s products have not been cleared by the



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                 FDA and are only registered with the FDA. Unlike clearance, FDA

                 registration is essentially automatic and does not require substantive FDA

                 review.

            g. That it is “unwise and potentially dangerous for any consumer to look to a

                 new up-start [Vivos] or to a copy-cat system that seeks to grow and

                 develop pediatric dentition with a series of appliances that have neither

                 been independently researched nor FDA-cleared for the treatment of your

                 pediatric patients.” In fact, many dentists and patients have used Vivos

                 products and services with great success and Vivos products are Class I

                 registered and Class II cleared by the FDA. By contrast, Ortho-Tain’s

                 products hold only Class I registration. In addition, Vivos is not able to

                 locate any evidence of clinical trials of Ortho-Tain products.

            h. That “Vivos … does not own any patents for oral appliances used to treat

                 pediatric cases.” In fact, Vivos holds the rights to four design patents,

                 sixteen utility patents, multiple foreign patents, as well as trademark

                 protection for its brand. Vivos’s patents are not age-specific, and are

                 equally applicable to children and adults.

            i.   That providers “risk their money with Vivos” and that this “gamble extends

                 to their pediatric patients.” In fact, many dentists and patients have used

                 Vivos products and services with great success and Vivos’s products

                 present no more risks than Ortho-Tain/HealthyStart’s.




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   Violations Based on Misrepresentations Regarding Ortho-Tain’s Products

          70.      Further, Ortho-Tain engaged in unfair or deceptive trade practices as set

   forth in C.R.S. § 6-1-105 by, inter alia:

                a. Knowingly making false representations as to the approval or certification

                   of Ortho-Tain’s goods and services;

                b. Knowingly making a false representation as to the characteristics,

                   ingredients, uses or benefits of Ortho-Tain’s products;

                c. Knowingly making false representations as to the status of Ortho-Tain;

                d. Representing that Ortho-Tain’s goods or services are of a particular

                   standard, quality, or grade despite knowing that they are of another; and

                e. Knowingly or recklessly engaging in unfair, unconscionable, deceptive,

                   deliberately misleading, false, or fraudulent acts or practices.

          71.      Ortho-Tain’s actions constituting unfair and deceptive trade practices in

   this respect include but are not limited to the following assertions by Ortho-Tain made to

   dentists in the fall of 2020 via Ortho-Tain’s email advertisements, and statements made

   to dentists and the consuming public through promotional materials that Ortho-Tain

   continues to use through the present day:

                a. That Ortho-Tain/HealthyStart has “500+ approved patents.” In fact, the

                   vast majority of these patents are expired and Ortho-Tain has only 20

                   current U.S. patents.

                b. That Ortho-Tain/HealthyStart has “successfully treated” “more than 4

                   million patients.” In fact, on information and belief, Ortho-Tain has not



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                  treated this many patients and does not even track or maintain adequate

                  information to ascertain the number of patients treated by Ortho-Tain

                  products or whether this treatment was “successful.”

               c. That “HealthyStart® is the ONLY company that has invented, patented,

                  developed, and offered a comprehensive series of oral appliances that

                  actually treat the underlying root causes of pediatric Sleep Disordered

                  Breathing.” In fact, Vivos has done precisely that and has an intellectual

                  property portfolio and product line to prove it.

               d. That Ortho-Tain’s oral appliances “have been independently and clinically

                  tested and are cleared by the U.S. Food and Drug Administration and

                  other international regulatory organizations.” In fact, Ortho-Tain’s products

                  are not cleared with the FDA, they are only registered. By contrast, Vivos

                  has both FDA-registered (Class I) and cleared (Class II) products. In

                  addition, Vivos is not able to locate any evidence of clinical trials of Ortho-

                  Tain products.

         72.      Ortho-Tain communicated all of the above false statements and undertook

   other unfair or deceptive conduct described above in the course of its business,

   vocation, or occupation. Specifically, Ortho-Tain sent its advertising emails through its

   sales department to dentists. Ortho-Tain also developed and published promotional

   materials now hosted on its websites, posted on its social media pages, posted on

   YouTube, and were used at Ortho-Tain events.




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          73.   Ortho-Tain’s actions significantly impact the public as actual or potential

   consumers of Vivos and Ortho-Tain’s goods because dentists across the country,

   including in Colorado, may purchase the goods or services at issue and use them to

   treat their patients. In addition, some of Ortho-Tain’s misstatements are targeted directly

   to the consuming public, including consumers in Colorado.

          74.    Ortho-Tain’s misrepresentations have reached thousands of individuals

   nationwide, including individuals in the State of Colorado.

          75.    Ortho-Tain’s misrepresentations are directed at dentists and consumers

   who generally lack sophistication regarding FDA regulations and/or approvals, patents,

   SEC filings, and other topics put at issue by Ortho-Tain’s statements.

          76.    Ortho-Tain’s communications also harm Vivos, a competitor business to

   Ortho-Tain headquartered in Colorado. This harm arises in the course of Vivos’s

   business.

          77.    As a result of Ortho-Tain’s misrepresentations, Vivos suffered injury in fact

   to a legally protected interest through harm to its professional reputation and existing

   business relationships, loss of goodwill, and upon information and belief, loss of

   prospective customers.

          78.    Ortho-Tain’s conduct described herein constitutes bad faith conduct

   because it is knowing, willful, and intentional. Specifically, Ortho-Tain knew that its

   statements about Vivos and Vivos’s products, as well as its statements about its own

   business and products, were false. Indeed, at the time of its email advertisements,

   Ortho-Tain already faced legal claims seeking to prevent its defamatory and tortious



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   conduct toward Vivos. Notwithstanding this knowledge, Ortho-Tain doubled down on its

   efforts and initiated a misleading email advertising campaign targeted at Vivos

   customers. In addition, at the time of the email advertisements, Vivos had already

   corrected several of Ortho-Tain’s allegations regarding patents in briefing in the case

   styled Ortho-Tain, Inc. v. Colorado Vivos Therapeutics Inc., et al., No. 1:20-cv-04301,

   currently pending in the U.S. District Court for the Northern District of Illinois.

                                             COUNT 3

                                           Libel Per Se

          79.      Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

   Libel to Vivos’s Dentist Customers

          80.      Ortho-Tain and/or its agents, at Ortho-Tain’s direction, authored multiple

   written form of emails containing false and misleading information about Vivos. These

   false and misleading written statements include, inter alia:

                a. That Vivos’s products are comparable to a “cheaply made back alley

                   knock-off.” In fact, Vivos products are made with high quality, bio-

                   compatible components and techniques.

                b. That   Vivos   uses   “third-party   foreign   manufacturing,    possibly   by

                   unregulated entities and by unknown or non-disclosed materials.” In fact,

                   Vivos devices are manufactured in ISO-9001 facilities practicing Good

                   Manufacturing Practices and in compliance with all applicable regulations.




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               Vivos’s contract manufacturing facilities undergo regular audits to ensure

               compliance with these standards.

            c. That Vivos “will offer you nothing more than a re-packaged statement of

               HealthyStart’s materials ….” In fact, Vivos uses its own unique advertising

               materials, products, and services.

            d. That “Vivos [does] not know if its products are safe and clinically effective.”

               In fact, Vivos has undertaken extensive bio-compatibility testing and

               conducted unpublished case studies and independent provider surveys to

               ensure product safety, compliance, and efficacy.

            e. That “Vivos is seeking emergency life-support to make it through the year

               and even if it makes it to the ICU, it will still need to borrow further in order

               to stay alive ….” In fact, Vivos is on sound financial footing.

            f. That Vivos’s products are “neither approved nor cleared by the FDA.” In

               fact, Vivos’s products are Class I registered and Class II cleared by the

               FDA. By contrast, Ortho-Tain’s products have not been cleared by the

               FDA and are only registered with the FDA. Unlike clearance, FDA

               registration is essentially automatic and does not require substantive FDA

               review.

            g. That it is “unwise and potentially dangerous for any consumer to look to a

               new up-start [Vivos] or to a copy-cat system that seeks to grow and

               develop pediatric dentition with a series of appliances that have neither

               been independently researched nor FDA-cleared for the treatment of your



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                    pediatric patients.” In fact, many dentists and patients have used Vivos

                    products and services with great success and Vivos products are Class I

                    registered and Class II cleared by the FDA. By contrast, Ortho-Tain’s

                    products hold only Class I registration.

               h. That “Vivos … does not own any patents for oral appliances used to treat

                    pediatric cases.” In fact, Vivos holds the rights to four design patents,

                    sixteen utility patents, multiple foreign patents, as well as trademark

                    protection for its brand. Vivos’s patents are not age-specific, and are

                    equally applicable to children and adults.

               i.   That providers “risk their money with Vivos” and that this “gamble extends

                    to their pediatric patients.” In fact, many dentists and patients have used

                    Vivos products and services with great success and Vivos’s products

                    present no more risks than Ortho-Tain/HealthyStart’s.

         81.        Ortho-Tain’s false and misleading statements defamed Vivos in its trade,

   business, or profession.

         82.        Ortho-Tain and its agents communicated these written statements to

   dentists across the country and were understood by those same dentists.

         83.        Ortho-Tain knew or should have known that its communications were false

   and/or misleading and that they defamed Vivos in its trade, business, or profession.

         84.        Ortho-Tain’s conduct has caused Vivos harm in the form of injury to

   Vivos’s business relationships with its dentist clients, reputation, and loss of goodwill.




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   Upon information and belief, Ortho-Tain’s statements have also caused dentists to

   refrain from buying Vivos goods or services.

           85.      Ortho-Tain’s actions have damaged Vivos in an amount to be determined

   at trial.

   Libel to Benco

           86.      In the spring of 2020, Ortho-Tain and/or its agents, at Ortho-Tain’s

   direction, authored multiple written statements containing false and misleading

   information about Vivos and communicated those statements to Vivos’s business

   partner, Benco. These false and misleading written statements include, inter alia:

                 a. False allegations that Vivos violated federal and state law, including the

                    Lanham Act;

                 b. Incorrect assertions that Vivos made knowingly false misrepresentations

                    at Benco events, that Vivos attempted to “pawn off” Vivos products as

                    Ortho-Tain’s products, and that Vivos interfered with Ortho-Tain’s

                    contracts with dental professionals;

                 c. Improper disparagement and mischaracterizations of Vivos’s products,

                    professional reputation, and intellectual property;

                 d. False statements that Vivos has no patents or patented appliances

                    suitable for pediatric use;

                 e. False statements that Vivos has no FDA clearances;

                 f. False statements that Vivos has no history of success;




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                g. Disparaging statements about Vivos and its products, including that Vivos

                   products include “a poorly copied plastic mouthguard that neither

                   reshapes airway systems nor repositions teeth”;

                h. False statements that Vivos engaged in conduct that was “unethical,

                   immoral, and … illegal”; and

                i. Improper threats to Benco predicated on the above statements.

          87.      Copies of Ortho-Tain’s libelous communications are attached as Exhibits

   1-4.

          88.      Ortho-Tain’s false and misleading statements defamed Vivos in its trade,

   business, or profession.

          89.      Ortho-Tain communicated these written statements to Benco and were

   understood by Benco.

          90.      Vivos has a business relationship and contracts with Benco.

          91.      Ortho-Tain is aware of this relationship and was aware of the relationship

   at the time of the communications at issue.

          92.      Ortho-Tain knew or should have known that its statements to Benco were

   false and/or misleading and that they defamed Vivos in its trade, business, or

   profession.

          93.      Ortho-Tain’s conduct has caused Vivos harm in the form of injury to

   Vivos’s reputation with Benco and loss of goodwill with Benco. Ortho-Tain’s conduct has

   also strained the business relationship between Vivos and Benco.




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           94.      Ortho-Tain’s actions have damaged Vivos in an amount to be determined

   at trial.

                                              COUNT 4

                                           Slander Per Se

           95.      Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

           96.      In the spring of 2020, Ortho-Tain made false and misleading oral

   statements, including, upon information and belief:

                 a. False allegations that Vivos violated federal and state law, including the

                    Lanham Act;

                 b. Incorrect assertions that Vivos made knowingly false misrepresentations

                    at Benco events, that Vivos attempted to “pawn off” Vivos products as

                    Ortho-Tain’s products, and that Vivos interfered with Ortho-Tain’s

                    contracts with dental professionals;

                 c. Improper disparagement and mischaracterizations of Vivos’s products,

                    professional reputation, and intellectual property; and

                 d. Improper threats to Benco predicated on the above statements.

           97.      Upon information and belief, these statements were made by Ortho-Tain

   CEO, Leslie Stevens and Ortho-Tain outside counsel Nathan Neff. They were made to

   Benco General Counsel Robert Bisal and Benco Managing Director Chuck Cohen.

           98.      These oral statements defamed Vivos in its business, trade, or profession.




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           99.    Ortho-Tain communicated these statements to Benco and were

   understood by Benco.

           100.   Vivos has a business relationship and contracts with Benco.

           101.   Ortho-Tain is aware of this relationship as was aware of that relationship

   at the time of the oral statements in question.

           102.   Ortho-Tain knew or should have known that its statements to Benco were

   false and/or misleading and that they defamed Vivos in its business, trade, or

   profession.

           103.   Ortho-Tain’s conduct has caused Vivos harm in the form of injury to

   Vivos’s reputation with Benco and loss of goodwill with Benco. Ortho-Tain’s conduct has

   also strained the business relationship between Vivos and Benco.

           104.   Ortho-Tain’s actions have damaged Vivos in an amount to be determined

   at trial.

                                           COUNT 5

                  Intentional Interference with Contract/Business Relations

           105.   Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

   Interference with Vivos’s Dentist Customers

           106.   Vivos has existing business relationships and contracts with dentists

   across the country.

           107.   Ortho-Tain knew that Vivos has contracts and business relations with

   dentists across the country.



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            108.   Ortho-Tain intentionally interfered with Vivos’s business relationships and

   contracts with dentist-customers by sending those dentists a form advertising email

   containing false, misleading, and disparaging allegations about Vivos and Vivos’s

   products. See Exs. 5-9.

            109.   Ortho-Tain’s interference was improper because it was based on false,

   misleading, and disparaging statements and motivated by a desire to unfairly impugn

   Vivos.

            110.   Ortho-Tain’s interference has caused Vivos loss of goodwill with

   customers and harm to Vivos’s reputation.

            111.   Ortho-Tain’s interference has damaged Vivos in an amount to be

   determined at trial.

   Interference with the Vivos-Benco Relationship

            112.   Vivos has an existing business relationship and contract with Benco.

            113.   Ortho-Tain knew that Vivos has contracts and business relations with

   Benco.

            114.   Ortho-Tain intentionally interfered with Vivos’s business relationship and

   contracts with Benco by repeatedly communicating to Benco false, misleading, and

   disparaging allegations about Vivos and by making threats against Benco on the basis

   of these allegations. The written portion of these communications are attached herein at

   Exhibits 1-4.




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            115.   Ortho-Tain’s interference was improper because it was based on false,

   misleading, and threatening statements and motivated by a desire to unfairly impugn

   Vivos.

            116.   Ortho-Tain’s actions have made Vivos’s performance under its contracts

   with Benco more difficult. Specifically, Ortho-Tain’s conduct has strained the business

   relationship between Vivos and Benco and forced the two parties to divert time,

   attention, and resources away from collaboration and toward Ortho-Tain’s allegations

   and threats.

            117.   Ortho-Tain’s interference has caused Vivos loss of goodwill with Benco

   and harm to Vivos’s reputation.

            118.   Ortho-Tain’s interference has damaged Vivos in an amount to be

   determined at trial.

                                            COUNT 6

                                     Declaratory Judgment

            119.   Vivos realleges and incorporates all prior paragraphs of this Amended

   Complaint as if alleged herein.

            120.   Vivos seeks a declaratory judgment pursuant to 28 U.S.C. § 2201 that

   Vivos did not commit false designation of origin in violation of the Lanham Act through

   its acts at Benco events, as Ortho-Tain has falsely asserted to Benco. See Exs. 1-4.

            121.   Vivos did not sell its goods under Ortho-Tain’s name at the Benco events.

            122.   Vivos did not sell Ortho-Tain’s goods under Vivos’s name at the Benco

   events.



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         123.   Vivos did not make false or misleading statements of fact about Ortho-

   Tain or its products at Benco events as Ortho-Tain alleged in its communications to

   Benco.

         124.   Vivos’s statements were not used in a commercial advertisement or

   promotion, within the meaning on the Lanham Act.

         125.   Statements that Vivos made at Benco events did not deceive and were

   not likely to deceive attendees in a material way.

         126.   Vivos’s statements did not cause and were not likely to cause competitive

   or commercial injury to Ortho-Tain.

         127.   Accordingly, Vivos’s conduct at the Benco events did not violate the

   Lanham Act as Ortho-Tain has alleged to Benco.

         128.   A declaration that Vivos did not violate the Lanham Act at the Benco

   events will put to rest Ortho-Tain’s false allegations and threats to Vivos and others,

   including Benco.

                                    PRAYER FOR RELIEF

         WHEREFORE, Vivos demands judgment as follows:

             A. For an order enjoining Ortho-Tain from continuing to defame Vivos;

             B. For an order enjoining Ortho-Tain from further interfering with Vivos’s

                business relationship and contracts with Benco;

             C. For an order enjoining Ortho-Tain from further interfering with Vivos’s

                business relationships and contracts with Vivos dentists;




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            D. For an order requiring Ortho-Tain to correct or remove its false assertions

                in all public-facing materials and enjoining Ortho-Tain from making such

                statements in the future;

            E. For an order declaring that Vivos did not violate the Lanham Act as

                alleged by Ortho-Tain;

            F. For an order finding in favor of Vivos on all counts asserted herein;

            G. For compensatory, statutory, and punitive damages in amounts to be

                determined by the Court and/or jury;

            H. For disgorgement of Ortho-Tain’s profits,

            I. For enhanced damages;

            J. For treble damages;

            K. For an order awarding Vivos its reasonable attorneys’ fees and expenses

                and costs of suit;

            L. For pre- and post-judgment interest on all amounts awarded; and

            M. For any other relief this Court deems just and proper.


                                     JURY TRIAL DEMAND

         Plaintiff demands a trial by jury on all claims so triable.




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    Dated: February 12, 2021.

                                        Respectfully submitted,




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of February, 2021, a true and correct copy of

   the foregoing FIRST AMENDED COMPLAINT was transmitted to all counsel of record

   using the CM/ECF system.



                                               /s/ Vanessa Sanchez




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